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                                 (Stipulating Parties Listed on Signature Page)
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                                     UNITED STATES DISTRICT COURT
9                                  NORTHERN DISTRICT OF CALIFORNIA
                                        SAN FRANCISCO DIVISION
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11   In re: CATHODE RAY TUBE (CRT)                                  Case No. 07-5944 SC
     ANTITRUST LITIGATION                                             MDL No. 1917
12
     This Document Relates to:                         STIPULATION AND [PROPOSED]
13                                                     ORDER REGARDING PAGE LIMITS
     ALL INDIRECT PURCHASER ACTIONS                    AND BRIEFING SCHEDULE FOR THE
14                                                     PHILIPS TAIWAN LIMITED AND
                                                       PHILIPS DO BRASIL LTDA. MOTION
15                                                     TO DISMISS FOR INSUFFICIENT
                                                       SERVICE OF PROCESS AND LACK OF
16                                                     PERSONAL JURISDICTION
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28                                                                                        MDL 1917
      STIPULATION AND [PROPOSED] ORDER REGARDING PAGE LIMITS AND BRIEFING
     SCHEDULE FOR THE PHILIPS DEFENDANTS’ MOTION TO DISMISS FOR INSUFFICIENT
             SERVICE OF PROCESS AND LACK OF PERSONAL JURISDICTION
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1               WHEREAS, Defendants Philips Taiwan Limited and Philips do Brasil Ltda 1 (collectively the

2    “Philips Defendants”) have specially appeared and filed a motion to dismiss the claims of the

3    Indirect Purchaser Plaintiffs (“IPPs”) for insufficient service of process and lack of personal

4    jurisdiction on March 26, 2014 (Dkt. No. 2470); 2

5               WHEREAS, IPPs served an opposition to this motion on April 14, 2014 (Dkt. No. 2536);

6               WHEREAS, the IPPs’ opposition responds to two motions to dismiss: (1) the above-

7    referenced motion filed on March 16, 2014; and (2) the Philips Defendants’ original motion to

8    dismiss for insufficient service and lack of personal jurisdiction filed on May 18, 2009 (Dkt. No.
9    476), which the Philips Defendants incorporate into the March 2014 motion by reference; 3
10              WHEREAS, the Philips Defendants’ May 2009 motion argues that this Court lacks personal

11   jurisdiction over them and provides declarations from their employees in support of their motion;

12              WHEREAS, the Philips Defendants’ March 2014 motion argues, among other things, that the

13   IPPs have failed to prosecute the case against them;

14              WHEREAS, the IPPs’ required a one and a half page increase in the page length of their

15   opposition to adequately address the issues raised in the May 2009 and March 2014 motions and

16   supporting declarations;

17              WHEREAS, IPPs’ memorandum of points and authorities in opposition to the Philips

18   Defendants’ motions to dismiss is just over 26 pages;

19              WHEREAS, the Philips Defendants’ motion is not scheduled for oral argument until May 30,

20   2014;

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23    The IPPs’ amended complaints name Philips Electronics Industries (Taiwan), Ltd. and Philips da Amazonia Industria
     Ltda. as defendants. Philips Electronics Industries (Taiwan), Ltd. has been merged into Philips Taiwan Limited and
24   Philips da Amazonia Industria Electronica Ltda. has been merged into Philips do Brasil Ltda.
     2
      Undersigned counsel from Baker Botts L.L.P. are only appearing to assert the Philips Defendants’ motion to dismiss
25   for insufficient service of process and lack of personal jurisdiction. This appearance is not meant to, and does not,
     constitute a general appearance or a waiver of any objections the Philips Defendants have to the sufficiency of the IPPs’
26   service of process and allegations related to personal jurisdiction
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27       See Dkt No. 2470 at p.1, fn. 3.
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1           WHEREAS, counsel for the Philips Defendants and counsel for the IPPs have met and

2    conferred and have agreed upon page limits relating to the IPPs’ opposition brief and a mutually

3    acceptable briefing schedule relating to the Philips Defendants’ reply brief in support of their motion

4    to dismiss;

5           IT IS HEREBY STIPULATED AND AGREED by and between the Philips Defendants and

6    the IPPs that:

7           1. The IPPs’ 27 page opposition brief is deemed permissible .

8           2. The Philips Defendants shall file their reply brief in support of their motion to dismiss on
9                  or before May 1, 2014. This revised briefing schedule will have no impact on the
10                 currently scheduled hearing date for the Philips Defendants’ motion to dismiss.
11

12                                                     ***
13          The undersigned parties jointly and respectfully request that the Court enter this stipulation
14   as an order.
15
     Dated: April 22, 2014                                  BAKER BOTTS L.L.P.
16
                                                            By:      /s/ Erik T. Koons
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1                                                   Attorneys Specially Appearing for
                                                    Defendants Philips Taiwan Limited and
2                                                   Philips do Brasil Ltda.
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12
                                                    Interim Lead Counsel for the Indirect
13                                                  Purchaser Plaintiffs
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16   PURSUANT TO STIPULATION, IT IS SO ORDERED.           TES D      TC
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              04/28/2014
     Dated: ______________________            ________________________________
19                                                  Hon. Samuel Conti                 R NIA
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